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                      IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


                                                   :
        UNITED STATES OF AMERICA                   :
                                                   :
                             v.                    :
                                                   :   3:23-CR-00026 (KAD)
        GLENN OZTEMEL and                          :
        EDUARDO INENECCO                           :
                                                   :


                        DECLARATION OF NELSON A. BOXER

       I, NELSON A. BOXER, do declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.     I am a partner of Petrillo Klein & Boxer LLP and I represent Glenn Oztemel in

the above-referenced case.

       2.     Mr. Oztemel respectfully moves to seal portions of his August 25, 2023, Motion

to Compel, and portions of this August 25, 2023, Declaration and Exhibits D-I thereto.

       3.     On June 6, 2023, on behalf of Mr. Oztemel, we filed a motion for an Order

compelling the government to produce Brady/Giglio materials. See ECF No. 48.

       4.     On July 12, 2023, we sent an e mail to the government in which we asked that the

government confirm our understanding of the holding in United States v. Coppa, 267 F.3d 132,

139 (2d Cir. 2001), namely, that the government’s “Brady disclosure obligations apply for: any

evidence that is favorable to Mr. Oztemel—i.e., when it tends to exculpate him or is useful to

impeach the credibility of a government witness; and there is any reasonable likelihood that that

evidence could change the outcome of the proceedings.” On July 13, 2023, the government

requested by e mail that defense counsel withdraw the motion to compel, promising that the

government “is presently in compliance” with its Brady/Giglio obligations, “which are



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summarized in United States v. Coppa . . .” A copy of our e mail exchange is attached hereto as

Exhibit A.

       5.     On July 18, 2023, based upon the government’s July 13 e mail, we withdrew our

June 6 motion for an Order compelling the government to produce Brady/Giglio materials. See

ECF No. 63.

       6.     On July 24, 2023, we sent the government a letter containing additional and

renewed discovery demands (the “Discovery Requests”). A copy of the Discovery Requests is

attached hereto as Exhibit B.

       7.     On August 8, 2023, the government responded to defense counsel’s discovery

demands. A copy of the response letter is attached hereto as Exhibit C.

       8.     On August 10, 2023, after a Court status conference, government counsel

informed defense counsel that the government had not participated in any attorney proffers and

that the DOJ Fraud Section had an unwritten rule precluding them, so as to not need to produce

or engage in litigation about them.

       9.     The government has produced to the defense materials relating to Rodrigo

Berkowitz, including related to the Brazilian government’s investigation of Mr. Berkowitz.




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          I hereby declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury under the laws of

    the United States, that the foregoing is true and correct.

    Executed on August 25, 2023.


                                              Nelson A. Boxer




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 The attached documents were translated and summarized by a person fluent in Portuguese but not by a
court-certified Portuguese translator.
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